             Case 2:20-cv-02219-NJK Document 27 Filed 11/02/21 Page 1 of 2




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 4                             UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
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 7   LORA ANN BRAND,                                          Case No. 2:20-cv-02219-NJK
 8          Plaintiff(s),                                               ORDER
 9   v.
10   KILOLO KIJAKAZI,
11          Defendant(s).
12         This case involves judicial review of administrative action by the Commissioner of Social
13 Security (“Commissioner”) denying Plaintiff’s application for disability insurance benefits
14 pursuant to Titles II and XVI of the Social Security Act. Currently before the Court is Plaintiff’s
15 Motion for Reversal and/or Remand. Docket No. 22. The Commissioner filed a response in
16 opposition and a cross-motion to affirm. Docket Nos. 23-24. Plaintiff filed a reply. Docket No.
17 25.1
18         One of the issues before the Court is whether remand is required in light of constitutional
19 concerns regarding the tenure of former Commissioner Andrew Saul. The parties’ briefing has
20 not directly addressed the question of Plaintiff’s standing to raise this argument, which is a
21 jurisdictional issue that the Court has a duty to examine. E.g., United States v. Hays, 515 U.S.
22 737, 742 (1995). Moreover, it appears that there is a split of authority on standing in the context
23 of the separation-of-powers argument now being presented. See, e.g., Tristan M. v. Kijakazi, 2021
24 WL 4993086, at *2 (D. Minn. Oct. 27, 2021) (collecting cases on split of authority).
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           The parties consented to resolution of this matter by the undersigned magistrate judge.
28 See Docket No. 3; see also Gen. Order 2019-08.

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               Case 2:20-cv-02219-NJK Document 27 Filed 11/02/21 Page 2 of 2




 1         Accordingly, the Court ORDERS the parties to file supplemental briefs specifically
 2 addressing Plaintiff’s standing. These briefs must be filed no later than November 16, 2021, and
 3 must be no longer than 20 pages in length.2
 4         IT IS SO ORDERED.
 5         Dated: November 2, 2021
 6                                                              ______________________________
                                                                Nancy J. Koppe
 7                                                              United States Magistrate Judge
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             This is a rapidly evolving area of the law. The Court expects counsel to thoroughly
   research their positions and to cite supportive case law whenever possible, even if that case law is
28 out-of-circuit, unpublished, and/or at the district court level.

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